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                                              UN ITED STA TES D ISTR ICT CO U R T
                                              SOUTHERN DISTRICT OJ?FLQRIPA
                                              CASE NO.22-
                                                   .    g
                                                         20008-CR-M. ORENO
                                                                       . .'
                                                                                  '
                                                               ,


   UNITED STATES OlîAM ERICA,
                Plaintiff,
   V S.                                       cllkxcE o?-PLE: M INtrI'ES
   K EV IN REB OLLE DO ,

                befendant.
                                      .
                                               /

          O n June 15, 2022 the above-nam ed defendant appeared in person before the
                                                                           '
                       ,


   H onorablq FEDERICO A.M ORENO,United StatesDistrictJudge,with counsel,Kathleen

   M ollison?AFPD ,couhselappointed by the C ourt,and s:id defendantstated in O pen C ourt
                              ;           '                        .
   thathedesirestowithdraw hisplea otnoiaguilty heretofore entered and desirqto enter a
   plea ofguilty as to C ountO N E oftheIndictm ent.

          Afterthedefepdantw@sduly sworn,theCourtm adeinquiry asto guilt. The Court,

   being satisfied there w as a factualbasis for the plea,accepted the plea of guilty and found

   the defendant guilty ascharg
                              'ed.

          W hereupon:

          TheCourtpostponed sentencing untilAugust29j2022 aj9:30 a.m .


   C ourtR epörter: G ilda Pastor-H ernandez           A USA :Bertila Fernandez
                                                       .   '           ,

   Deputy Clerk:Shirley Christie.                      INTEA A TER: N/A

   C ourtTim e: 24 m inutes'
